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                                            July 15, 2020

Via ECF
Clerk of the District Court
United States District Court for the District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07101

               Re:      Wilmington Sav. Fund Soc., FSB v. Levine, et al.
                        Civil Action No. 19-cv-18137-MCA-LDW

Dear Sir/Madam:

        We represent Colliers International NJ LLC, the Court-Appointed Receiver in this action.
Pursuant to Paragraphs 21 and 23 of the Court’s December 4, 2019 Order (ECF No. 76), enclosed
are the Monthly Reports for the properties at issue in this action, and a legal addendum.

               We thank the Court for considering this matter.

                                                               Respectfully submitted,

                                                               /s/ William R. Tellado

                                                               William R. Tellado

Enclosures

cc:    All counsel of record (by ECF)
